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 7
                                NORTHERN DISTRICT OF CALIFORNIA
 8

 9   MOLLY BROWN, PARSA MILLER, LAU-                Case No. 4:21-cv-05132-HSG
     REN MORGAN, MICHAEL MCBRIDE, and
10   KAARON WARREN as individuals, on behalf
     of themselves, the general public, and those
11   similarly situated,                            JUDGMENT
12                                 Plaintiffs,
13            v.
14   NATURE’S PATH FOODS, INC.,
15                   Defendant.
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1          Pursuant to the stipulation of the parties, under Federal Rule of Civil Procedure Rule 68,

2 judgment is hereby entered against Defendant NATURE’S PATH FOODS, INC. in favor of
3 Plaintiffs MOLLY BROWN, PARSA MILLER, LAUREN MORGAN, MICHAEL MCBRIDE,
4 and KAARON WARREN. Judgment is entered against Defendant NATURE’S PATH FOODS,
5 INC. for the amount of $1,000,000 to be allocated as set forth in the offer of judgment, Dkt. No
6 121. Plaintiffs’ portion of the judgment ($70,000) shall be paid within 10 days of entry of judg-
7 ment, and Plaintiffs’ Counsel’s portion ($930,000) shall be paid within 30 days of entry of judg-
8 ment. This action is DISMISSED WITH PREJUDICE as to all Plaintiffs’ claims, causes of
9 action, and parties, and WITHOUT PREJUDICE as to absent putative class member claims.
10         The Clerk is directed to enter judgment in accordance with this Order.

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12         DATED: 11/7/2023                              ______________________________

13                                                       Hon. Haywood S. Gilliam, Jr.

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